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                     1    MORGAN, LEWIS & BOCKIUS LLP
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                          300 S Grand Ave Fl 22
                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.                                STIPULATION TO ORDER
                                                                                      EXTENDING TIME TO FILE PLAN
                    16                                                                OBJECTIONS AND RESPONSE TO
                                                                                      MOTION TO ASSUME OR REJECT
                    17                                                                EXECUTORY CONTRACTS

                    18                                                                Date:      July 9, 2020
                                                                                      Time:      10:00 A.M.
                    19                                                                Courtroom: 1375 (via Zoom for Govt.)
                    20
                                   This Stipulation to Order Extending Time to File Plan Objections is entered into as of
                    21
                          June 25, 2020 by and between Debtor-in-Possession Scoobeez, (“Scoobeez”), Hillair Capital
                    22
                          Management, LLC (“Hillair”), the Official Committee of Unsecured Creditors (the
                    23
                          “Committee”) and Amazon Logistics, Inc. (“Amazon”) with reference to the following facts:
                    24
                          ////
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                          ////
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                    27    1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                          Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28    Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
 BOCKIUS LLP             DB2/ 39181046.1
                                                                                 -1-
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   COSTA MESA
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                     1                                                 RECITALS

                     2             A.      On April 30, 2020, the Court entered its Order (I) Approving the Disclosure

                     3    Statement … etc. (Dkt. No. 766) (the “Disclosure Statement Order”).

                     4             B.      Pursuant to paragraph 41 of the Disclosure Statement Order, objections to the

                     5    confirmation of the First Amended Chapter 11 Joint Plan of Reorganization as Proposed by the

                     6    Debtors, Hillair and the Official Committee of Unsecured Creditors (Dkt. No. 754) (the “Plan”)

                     7    are due to be filed no later than 5:00 p.m. prevailing Pacific Time on June 25, 2020.

                     8             C.      On June 30, 2020, the Debtors filed their Notice of Motion and Motion to Assume

                     9    Certain Executory Contracts, etc. (Dkt. No. 800) (the “Executory Contract Motion”).
                    10             D.      Pursuant to paragraph 44 of the Disclosure Statement Order, objections to the

                    11    Executory Contract Motion are due on June 25, 2020.

                    12             E.      The parties to this stipulation are engaged in discussions regarding certain

                    13    provisions of the Plan and Executory Contract Motion, and desire to extend the time for Amazon

                    14    to file any objections to the Plan and Executory Contract Motion that it may have to allow those

                    15    discussions to continue prior to the time that Amazon files its objections to the Plan and

                    16    Executory Contract Motion.

                    17             IT IS THERFOR stipulated that the Court may enter an order in the form attached hereto

                    18    as Exhibit 1 extending Amazon’s time to file objections to the Plan and Executory Contract

                    19    Motion through and including 12:00 p.m. prevailing Pacific Time on June 26, 2020.
                    20    (signatures on following page)

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                     1    Dated: June 25, 2020                        MORGAN, LEWIS & BOCKIUS LLP

                     2

                     3                                                By:   /s/ Richard W. Esterkin
                                                                                Richard W. Esterkin
                     4
                                                                               Attorneys for Amazon Logistics, Inc.
                     5
                          Dated: June 25, 2020                        FOLEY & LARDNER LLP
                     6

                     7
                                                                      By:   /s/ John Simon
                     8                                                          John Simon

                     9                                                         Attorneys for Scoobeez
                    10
                          Dated: June 25, 2020                        QUINN EMANUEL URQUHART &
                    11                                                SULLIVAN LLP

                    12

                    13                                                By:   /s/ Jennifer Nassiri
                                                                                Jennifer Nassiri
                    14
                                                                               Attorneys for Hillair Capital
                    15                                                         Management, LLC

                    16    Dated: June 25, 2020                        LEVENE, NEALE, BENDER, YOO & BRILL
                                                                      L.L.P.
                    17

                    18
                                                                      By:   /s/ John-Patrick Fritz
                    19                                                          John-Patrick Fritz
                    20                                                         Attorneys for Official Committee of
                                                                               Unsecured Creditors
                    21

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 BOCKIUS LLP             DB2/ 39181046.1
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                     1                             DECLARATION OF RICHARD W. ESTERKIN

                     2             I, Richard W. Esterkin, declare:

                     3             1.      I am an attorney at law, duly admitted into practice before all courts for the State

                     4    of California and the United States District Court for the Central District of California. I am a

                     5    member of the law firm of Morgan, Lewis & Bockius LLP, counsel for Amazon Logistics, Inc. in

                     6    the above-captioned matter.

                     7             2.      I have received written confirmation via e-mail from John Simon, Jennifer Nassiri

                     8    and John-Patrick Fritz that I am authorized to insert their electronic signatures on the foregoing

                     9    stipulation due to the difficulty in their providing me with inked signatures as a result of their

                    10    office closures resulting from the COVID-19 pandemic.

                    11             I declare under penalty of perjury that the foregoing is true and correct and that this

                    12    declaration was executed at Santa Monica, California on June 25, 2020.

                    13
                                                                          ______/s/ Richard W. Esterkin_______________
                                                                               _________________________
                    14                                                           Richard W. Esterkin

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                               EXHIBIT 1

                                Exhibit 1 - page 5
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                     1   MORGAN, LEWIS & BOCKIUS LLP
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                         Tel: (213) 612-2500
                     4   Fax: (213) 612-2501

                     5   Attorneys for
                         Amazon Logistics, Inc.
                     6

                     7

                     8                                UNITED STATES BANKRUPTCY COURT
                     9                                  CENTRAL DISTRICT OF CALIFORNIA
                    10                                           LOS ANGELES DIVISION
                    11

                    12   In re:                                                       Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13            SCOOBEEZ, et al.1,                                  2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                          Debtors and Debtors in
                    15                    Possession.                                 ORDER EXTENDING TIME TO FILE
                                                                                      PLAN OBJECTION AND RESPONSE TO
                    16                                                                MOTION TO ASSUME AND REJECT
                                                                                      EXECUTORY CONTACTS
                    17
                                                                                      Date:      July 9, 2020
                    18                                                                Time:      10:00 A.M.
                                                                                      Courtroom: 1375 (via Zoom for Govt.)
                    19
                    20            The parties hereto having filed a Stipulation to Order Extending Time to File Plan

                    21   Objections and Response to Motion to Assume or Reject Executory Contracts (Dk. No. ____) and

                    22   good cause appearing therefor,

                    23            IT IS HEREBY ORDERED that Amazon Logistics, Inc. may file any objections that it may

                    24   have to the confirmation of the First Amended Chapter 11 Joint Plan of Reorganization as

                    25   Proposed by the Debtors, Hillair and the Official Committee of Unsecured Creditors

                    26   ///

                    27   1
                           The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                         Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28   Boulevard, in Glendale, California 91214.
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 BOCKIUS LLP                                                                    -1-
 ATTORNEYS AT LAW
   COSTA MESA
                                                                 Exhibit 1 - page 6
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                     1   (Dkt. No. 754) and to the Debtors’ motion to assume and reject certain executory contracts (Dkt.

                     2   No. 800) on or before 12:00 p.m., prevailing Pacific Time, on June 26, 2020.

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MORGAN, LEWIS &
 BOCKIUS LLP                                                            -2-
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                                                          Exhibit 1 - page 7
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                     1                                  CERTIFICATE OF SERVICE FORM

                     2                                      FOR ELECTRONIC FILINGS

                     3             I hereby certify that on June 25, 2020, I electronically filed the foregoing document,

                     4    Stipulation to Order Extending Time to File Plan Objections with the Clerk of the United

                     5    States Bankruptcy Court, Central District of California, Los Angeles Division, using the CM/ECF

                     6    system, which will send notification of such filing to those parties registered to receive notice on

                     7    this matter.

                     8

                     9
                                                                         _____________________________________
                    10                                                               Renee Robles
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   COSTA MESA
                                                                     8
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius LLP
 300 S Grand Ave Fl 22, Los Angeles CA 90071-3132
                                                                      Stipulation to Order Extending Time to File Plan
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Objections and Response to Motion to Assume or Reject Executory Contracts
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
06/25/2020
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List attached



                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  06/25/2020
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

See E-Mail Only Service List, attached.



                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

06/25/2020         Renee Robles
 Date                      Printed Name                                                         Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                   9                       F 9013-3.1.PROOF.SERVICE
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John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
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Estates of Scoobeez

and Scoobeez Global, Inc.

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David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

davidlallylaw@gmail.com

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Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
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Stacey A Miller on behalf of Creditor Porsche Leasing Ltd.
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Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
smoses@foley.com

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Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
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David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
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ordubegian.aram@arentfox.com




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2:19-bk-14989-WB Electronic Mail-Only Service List

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jsimon@foley.com




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